        EXHIBIT A




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TECHNOLOGY
                    COM M I T T EE REP ORT




In September 2015, Chief Justice Mark Martin convened the North Carolina
Commission on the Administration of Law and Justice (NCCALJ), a sixty-five
member, multidisciplinary commission, requesting a comprehensive and
independent review of North Carolina’s court system and recommendations for
improving the administration of justice in North Carolina. The Commission’s
membership was divided into five Committees: (1) Civil Justice, (2) Criminal
Investigation and Adjudication, (3) Legal Professionalism, (4) Public Trust
and Confidence, and (5) Technology. Each Committee independently made
recommendations within its area of study.


This is the report of the Technology Committee. To access the full report of the
NCCALJ, including all five of the Committee reports, visit www.nccalj.org.




                   North Carolina Administration
                   Commission the
                                on of
                                      Law & Justice




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                                                                              North Carolina Administration
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                                                                                                 Law & Justice




     TECHNOLOGY                                                                   COM M I T T EE REP ORT
   This report contains recommendations for the future direction of the North Carolina court system as developed independently by
   citizen volunteers. No part of this report constitutes the official policy of the Supreme Court of North Carolina, of the North Carolina
   Judicial Branch, or of any other constituent official or entity of North Carolina state government.



                     “ADVANCES IN TECHNOLOGY … GIVE US THE
                      CHANCE TO REIMAGINE HOW COURTS AND
                        CITIZENS INTERACT WITH EACH OTHER.”
                                                                                                Chief Justice Mark Martin


INTRODUCTION
Innovative use of technology can revolutionize                             employ additional technology to achieve its
the way that organizations and people conduct                              constitutionally mandated mission.
business and live their lives. Recent examples
of the technology revolution include Amazon’s
                                                                           The implementation of technological change
transformation of retail shopping as well as the
                                                                           brings with it the promise of a truly uniform
development of smartphones and mobile apps that
                                                                           statewide court system as first envisioned
support banking and payment transactions.
                                                                           by the Bell Commission almost sixty years
                                                                           ago. That uniformity will empower local and
Similarly, innovative technology has been utilized                         statewide judicial officials to better manage
both in state and federal courts to dramatically                           court performance through improved data-
improve the administration of justice. It is                               driven decision-making, thus promoting greater
critical for North Carolina’s Judicial Branch to                           stewardship of judicial resources. It will also



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remove many of the local barriers to court access        study shows, about 76% of Americans are willing
for self-represented litigants and will increase         to do some court business online. That number
the service capacity of low-income legal service         jumps to 86% for those under 40 years old.1
providers. Additionally, through a uniform
Judicial Branch online presence, the courts can          This new preference for immediate access
meet and exceed expectations for public access to        presents us with an opportunity. Advances in
courts.                                                  technology, together with the desire to reduce
                                                         costs and improve the public’s access to court
People once interacted with court officials at           services, give us the chance to reimagine how
courthouses, face-to-face, with documents printed        courts and citizens interact with each other. For
on paper and no ability to make instantaneous            instance, we can aim to drastically reduce manual
or remote contact. Due to its age, our current           processes and reliance on paper documents. Many
technology reflects these traditional practices.         state court systems have successfully transformed
The preference for quick and comprehensive               themselves in a similar way, leading to both
online access has emerged relatively recently, but       increased efficiency and collaboration among
there is no doubt that it is here to stay. As a recent   court officials and the legal profession.




THE TECHNOLOGY COMMITTEE AND ITS WORK
The North Carolina Commission on the                     ways that technology can support the Judicial
Administration of Law and Justice (NCCALJ) is            Branch’s mission of providing a fair, independent,
an independent, multidisciplinary advisory body          and accessible forum for the just, timely, and
convened by the Chief Justice of the Supreme Court       economical resolution of the legal affairs of the
of North Carolina to recommend improvements              public.
to the judicial system. The Technology Committee
is one of five Committees of this Commission.            The Judicial Branch’s 6,000 employees work hard
As the Commission’s convener, Chief Justice              each day to carry out the Branch’s mission. The
Mark Martin, recently noted, “We need to make            Technology Committee’s goal is to recommend
these changes because courts are essential as            ways that technology can enhance our court
essential as grocery stores or the Internet. Let’s       officials and staffs efficiency and effectiveness,
never forget the role that judicial expertise and        and the timeliness of court processes, while at the
judicial independence play in safeguarding the           same time meeting the public’s expectations for
rule of law a role that no one else can do better,       accessibility and transparency. The Committee’s
or even equally well. If we lose business to other       challenge is to reimagine the courthouse and to
methods of dispute resolution, society at large          produce a strategic plan to deliver on that vision.
will suffer. Courts are too indispensable to yield
in the face of better technology, so we have to          The Committee held nine public meetings and
stay technologically up-to-date.” The Technology         heard presentations from states that are already
Committee has focused on identifying significant         using innovative technology to address the needs



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of their citizens, from national court technology       To understand the current state of the Judicial
experts, and from current North Carolina judicial       Branch’s technology, BerryDunn conducted an
officials, as well as from other members of             online survey of court employees and members of
the public. In early 2016, the consulting group         the public, collecting responses from over 1,000
BerryDunn was retained to assist the Committee          individuals. In addition, BerryDunn organized
with the legislatively mandated need to create a        in-person interviews with more than 200 Judicial
strategic plan for eCourts.2 The goal of an eCourts     Branch employees and members of the bar from
system is to increase both the efficiency and           across the state.
effectiveness of court processes by converting
the courts current paper-driven wor flow to             Having heard from these end users, BerryDunn
an electronic one, including processes such as          then reviewed the Judicial Branch’s infrastructure
filing and payment that have public interfaces. An      and capabilities, and fielded reports from the other
eCourts system will provide the foundation for          Committees of the Commission about the role that
further innovation throughout the court system.         technology should play in their areas of reform.




ISSUES IMPACTING TECHNOLOGY
The Technology Services Division (TSD) of the           Within this context, the Committee and BerryDunn
North Carolina Administrative ffice of the              preliminarily identified four overarching elements
Courts is primarily responsible for the Judicial        that are relevant when considering the transition
Branch’s technology needs. TSD provides network         to greater technological functionality in North
infrastructure, hardware, software applications,        Carolina’s court system:
technical support, and services to more than 500
courtrooms and offices spread throughout all 1            •   Technology management
North Carolina counties. Included in the Judicial             and governance;
Branch are nearly 550 independently elected
judges, district attorneys, and clerks of court. With     •   The business environment:
the ninth largest population in the United States,            inconsistent and paper-based;
the courts of our state handle roughly 2.7 million
cases each year.
                                                          •   Technology development:
                                                              software applications; and
The approximately 200 permanent employees
of TSD support more than 200 Judicial Branch              •   Anytime, anywhere access to services.
software applications. They also provide ancillary
services to two dozen government agencies,
                                                        TECHNOLOGY MANAGEMENT
vendors, and private entities that interface with
the court system’s technology and data. The result      AND GOVERNANCE
is an extensive, statewide, inter-agency technology     Technology management and governance address
operation.                                              how core technology initiatives are identified,



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analyzed, prioritized, and budgeted within the        processes, any use of technology must be
Judicial Branch. Without a governance process         considered within the context of the state courts’
in place, important technology needs may be           business environment. North Carolina’s court
overlooked, less important technology projects may    system is unified, but there remains a clear lack of
be prioritized, limited technology resources may      uniformity with respect to the business processes
be diluted or misdirected, and project completions    that individual courts and courthouses use.
may be delayed because of short-term changes in       Courts are managed based on local jurisdictional
technology priorities. It is equally important that   needs, and with 100 counties and more than
a governance system considers user input when         5 independently elected officials, the result is
developing software applications. Incorporating       that business processes vary dramatically from
user input will foster effective implementation       courthouse to courthouse, placing an unnecessary
and inspire confidence in the integrity of the        barrier to transparent use of court services.
progress. The Committee concluded that best           Implementing technology improvements that
practices within the technology industry include a    accommodate a multitude of variations in local
governance process that involves users and fact-      business processes would be too costly, with
based decision-making, maintains the installed        respect to both time and financial resources.
technology base, and increases simplicity.            For technology initiatives to be effective and
                                                      transparent, they must be accompanied by
The Judicial Branch’s technology governance           increased business process uniformity. Systems
process has historically been unstructured,           must be designed to provide a comprehensive,
irregular, and lacking external transparency.         vigorous, and consistent set of technology
Initiatives originate haphazardly from a              initiatives, with local variation discouraged and
combination of internal ideas, field demands,         not centrally supported.
executive branch or local government requests, and
legislative mandates. A lack of formal technology     Another barrier to efficiency in the current North
governance has hindered the effectiveness of          Carolina court business environment is that
technology innovation and execution by being          current processes are primarily paper driven.
vulnerable to repeated course changes, thus           Over 30 million individual pages of paper are
making accurate and consistent budgeting and          added to state court case files each year. fficial
time management of technology projects difficult,     legal records are almost entirely in paper form.
if not impossible. A plan for structured governance   System actors describe challenges resulting from
was developed by court stakeholders in 2014 and       an essentially paper-based case filing system.
reported to the Committee at an early meeting in      Those challenges include the fact that official
2015. The Committee has recommended that such         decisions and notes are recorded on paper files
a governance process be formalized to ensure a        during court and later transposed into one of the
smooth transition through the eCourts process.        many supported software applications to create
                                                      an electronic index of the same actions, leading to
                                                      constant duplication of effort.
THE BUSINESS ENVIRONMENT:
INCONSISTENT AND PAPER-BASED                          Maintaining organization of and ongoing
Because the purpose of technology is to solve         access to court files is labor intensive because
business problems and improve business                of the constraints of the paper environment.



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Additionally, individuals report instances in            to manage cases. Case files must be physically
which the only record of a case disposition is           transported throughout courthouses, no matter
recorded on the outside of the court file before         what the size.
filing it in a box or filing cabinet, never to be
entered into an electronic system for easy               This highly paper-driven business environment
future reference. Continued reliance on a paper-         is rife with opportunity for technological
based system creates data entry redundancies             innovation, but the lack of uniformity across local
and limits payment processes related to cases.           business processes is an obstacle that needs to be
 imultaneous access to case files by multiple            thoughtfully addressed.
parties (e.g., judges and clerks) as well as access
across county or jurisdictional lines is difficult, if
not impossible.                                          TECHNOLOGY DEVELOPMENT:
                                                         SOFTWARE APPLICATIONS
The physical impact of maintaining a paper-              Software applications will require an initial
based system also merits scrutiny. Each year,            infusion of resources for development and
more than four miles of shelving is needed to            implementation in addition to continuous ongoing
maintain the new case files generated during that        maintenance. Software applications can be: (1)
year. Counties use attics, basements, and off-site       developed in house by TSD staff and contractors,
arrangements for storage. 3 Either old files must        (2) purchased off the shelf from third-party
be promptly archived into microfilm or digital           vendors, or (3) a combination that heavily
formats to create shelf space, or new space must         customizes a commercial application. For example,
be obtained. hile the staffs of cler s offices           the state’s workhorse Criminal Case Information
have electronic indexing systems for some case           System (CCIS) was developed in house and is
information and management tas s, paper files            tied closely to North Carolina law and procedure.
still serve as the primary tool for court personnel        icrosoft ffice products li e ord, Excel, and




   Judicial Branch Technology Network
 Locations                                250+

 Courtrooms                               540+

 IT Components                          25,000+




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                                                                       0%    10%    20%    30%     40%    50%     60%    70%     80%    90% 100%

                                                      Strongly Agree    Agree      Disagree      Strongly Disagree       Don't Know


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                                        FOR TECHNOLOGY REPORT

Outlook are off-the-shelf. And the clerks’                 Age of Existing NCAOC Enterprise-Level
Financial Management System (FMS) is a                            Technology Applications
heavily customized vendor general ledger                      More than 20
                                                               Years Old                                             Less than 5 Years Old
                                                                   8                                                          11
accounting product.                                              13%                                                         18%



The vast majority of the Judicial Branch’s           16-20 Years Old
                                                            7
200 applications have been developed in                   12%

house because they filled niche needs. This
                                                                                                 5-10 Years Old
approach has provided for a greater level                                                              19
                                                                        11-15 Years Old               31%
of technology customization interfacing                                        16
                                                                              26%
with external government agencies and
their various technology platforms and has
allowed projects to be slowed or accelerated                                       Source: North Carolina Administrative Office of the Courts
as agendas and funding changed. The in
house approach, however, has also resulted
in a proliferation of aging applications that
are increasingly difficult to maintain as                for online information and supporting mobile
underlying technologies become obsolete, that            technology cannot be overstated. Calendars, maps,
require maintenance by developers who are aging          and instructions for parties, witnesses, and jurors
out of the workforce, and that do not necessarily        must be easy to access. Software applications
interface well with each other or provide the            must facilitate communications with key
transparency that stakeholders expect and                offices, electronic payment options, and e-filing
deserve.                                                 of documents. Software applications with a
                                                         public-interfacing component must be accessible
                                                         across multiple types of devices, including
ANYTIME, ANYWHERE ACCESS
                                                         desktops, tablets, and phones. Compatibility with
TO SERVICES                                              smartphones is particularly important because
The 21st century public expects to manage their          their widespread use throughout populations of
lives, their finances, their health, and a host of       varying income levels will help reduce barriers
other things remotely from their smartphones             to court access. The importance of equal access
and other electronic devices. When considering           to justice has been a focal point in the Technology
the business environment as it relates to public         Committee as well as in each of the NCCALJ’s four
use of technology, the predominance of the need          other Committees.




STRATEGIC PLAN PRIORITIES
  erry unn s field wor and subse uent analysis           processes. The Committee, in consultation with
showed nearly universal Judicial Branch                    erry unn, identified the following initiatives that
employee and outside user support for innovative         should be addressed in order for North Carolina’s
technological improvements to increase the               Judicial Branch to meet the technology needs of
effectiveness, efficiency, and timeliness of court       its stakeholders. These initiatives are not ranked



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because a number of them are interdependent and      all NCAOC technology initiatives in the eCourts
may need to be developed in conjunction with one     project. It is imperative that governance principles
another. The initiatives are:                        be established at the earliest opportunity in order
                                                     to facilitate a smooth transition throughout the
 •   Governance;                                     rest of the technology acquisition and deployment
                                                     process.
 •   Metrics;

 •   Reporting and analytics;

 •   Enterprise Information Management                 • METRICS, REPORTING,
     System (EIMS);
                                                         AND ANALYTICS
 •   Integrated Case Management System               The Judicial Branch’s data system initially was
     (ICMS);                                         developed to collect and compile statistics about
                                                     the number of cases in the system. A master
 •   e-Filing;
                                                     index of criminal convictions was later added.
                                                     Systems were not conceived with the objective
 •   Financial Management System (FMS);
                                                     of supporting the daily management of high
                                                     volume wor flows. or local officials and Judicial
 •   Electronic public access; and
                                                     Branch leadership to measure court performance
                                                     effectively, replicate successes, and identify
 •   Judicial workbench.
                                                     weaknesses, the court system must be able to
                                                     collect, manage, and provide data in a useful
A more extensive, technical, and detailed analysis
                                                     format. That ability does not currently exist.
of each of these initiatives has been provided by
                                                     In addition, policymakers and the public will
BerryDunn and can be found in the strategic plan
                                                     benefit from more insight into what the aggregate
attached in Appendix E. Below is an overview and
                                                     data can show about the evolution of the court
summary of each of the initiatives.
                                                     system through a variety of different metrics,
                                                     such as changes to statutes, changes in case
                                                     filing patterns, and how long it ta es to resolve a
                                                     particular type of case.

 • GOVERNANCE
                                                     Initially, the strategic plan states that the Judicial
As stated earlier, the Committee recognized at the   Branch must identify the metrics by which to
beginning of the process the need for a principled   measure and run the baseline analysis by
governance model to implement the sweeping           internally determining metrics, perhaps using
technology changes on the horizon. The strategic     elements of the National Center for State Court’s
plan specifically recommends that the Judicial       CourTools, defining data elements, and ensuring
Branch operationalize the IT Governance Charter      standardization across the state. Only after
referenced above and implement a best-practice       establishing baseline metrics will meaningful
portfolio management framework to include            reporting and analytics be widely available



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for internal and external judicial system              and informative. However, they also observe
stakeholders.                                          that current reporting must be accomplished by
                                                       requesting new reports to be developed by TSD
Case counting remains the underlying purpose           and the Research and Planning Division, which
for many of the Judicial Branch’s case tracking        gets back to the issue of governance. Access to
systems, and, although it provides valuable            self-service information is limited in the courts,
information about the status of a case, it affords     requiring days of staff time to produce and execute
little information about the case’s progression        a report. Innovative technology solutions should
through the system. This hampers effective             offer real-time performance dashboards, providing
data-informed management decisions because             both baseline data measurements and additional
system actors are unable to determine points           analytical modification for use by local officials
in the case management process that require            and the public alike. The NCCALJ’s Public Trust
improvement. n addition, many data fields in           and Confidence Committee has also emphasi ed
the current case tracking systems lack standard        greater access to information, because the court
written definitions, and this lac of uniformity in     system’s inability to respond to its perceived
data entry creates barriers to meaningful analysis     shortcomings negatively affects public trust.
of the data that has been collected. Finally,
as previously noted, much of the information           The demand for data in a usable format will
pertaining to a case that would be valuable for the    only continue to grow. It is important for data
purpose of analysis is maintained only on paper.       to be available, complete, accurate, timely, and
As a result, it is difficult, if not impossible as a   consistent throughout the court system. Similarly,
practical matter, to access simple data.               use of standardi ed definitions is essential as the
                                                       Judicial Branch implements court performance
These burdens on data availability prevent             measures, such as CourTools. As the emphasis
effective management of both the overall court         on data shifts to predictive analytics, such as
system and the local needs of judicial system          assessing at case initiation whether a civil case
stakeholders across the state. Ineffective             will be simple, general, or complex in order to
management can result in delays, inconsistent          determine likely resourcing needs, the integrity
outcomes for parties, and legislative concern          of the data and the use of standardi ed definitions
regarding stewardship of resources. Several of the     become increasingly important.
NCCALJ’s companion Committees have stressed
the importance of improving the timeliness and
efficiencies of our courts. Public polling data from
the Public Trust and Confidence Committee shows
that the public is deeply concerned about delays in
the administration of justice. Good stewardship of
                                                         • ENTERPRISE
the courts supported by good data will positively          INFORMATION
affect every aspect of the Judicial Branch.                MANAGEMENT
                                                           SYSTEM (EIMS)
 ignificantly, Judicial ranch employees note
that when data is in a format that allows for          TSD has procured a document management
reporting, the reports provided are both useful        system or E      a secure electronic repository,



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which will be integrated with other eCourts           An Integrated Case Management System (ICMS)
elements, used to store, retrieve, archive, and       will allow electronic processing functionality for
associate a variety of documents with cases. The      all case types to record, track, and manage events
current process of relying upon physical access to    from case initiation through case disposition,
court documents must give way to digital access in    using thorough, flexible wor flows that generate
order for the system to progress.                     automated reminders and electronic notifications.
                                                      The process of calendaring cases could benefit
Electronic document management provides a             greatly from this system. To create, update,
critical foundation for the remainder of the system   and distribute calendar information is time
and should support the transition from paper-         consuming, often requiring redundant data
based to digital files over time, while increasing    entry, and resulting in some courts creating their
electronic access to those files from anywhere at     own “workarounds” (e.g., Google calendars). An
any time by both court employees and the public.      electronic calendaring system that is automatically
                                                      populated through a case management system
                                                      would be easily accessible by both court employees
                                                      and the public.

  • INTEGRATED CASE
    MANAGEMENT
    SYSTEM (ICMS)
                                                        • CENTRALIZED
More than one million criminal and non-criminal
                                                          ELECTRONIC FILING
citations primarily traffic-related enter the
courthouse electronically each year.4 In most         Electronic filing is a means to submit documents
instances, however, this information is then          and or information into the E         and C .
printed out and a physical file is created. This      This may occur through fillable forms or scanned
manual process contributes significantly to the       documents. The e-filing system could evaluate and
estimated 30 million pieces of paper that are         respond to events or initiate tasks in the ICMS.
added to state court case files annually.             Electronic filing without robust E      and C      is
                                                      of little value to the court system. Today, electronic
 n addition, selected data from paper files is        filing is nominally an option with North Carolina s
manually keyed by authorized personnel into one       appellate courts, the business courts, and four
or more of the Judicial Branch databases, to be       pilot sites for civil cases.5
accessed by various software applications. Lack
of a single repository for case data significantly    North Carolina s unified court system will
decreases efficiency, re uires redundant data         be strengthened by the implementation of
entry, and requires users to log into multiple        mandatory statewide electronic filing. n the
systems, often toggling between them, to              near term, high-volume and forms-driven case
complete a business process. A single, integrated     types may present the greatest opportunity
case management system would save valuable            for significant and immediate savings and
employee hours as well as reduce data entry           convenience. hile some filings may still re uire
errors.                                               paper to be converted to an electronic format


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for storage at a later date, the document should
be retrievable through an integrated case
management system. A case should be maintained                    IN FISCAL YEAR
by an electronic wor flow that allows varied                             2015-16,
dashboard views for court officials and parties,
depending upon their role within the court                         $737,000,000+
system. Functionality should give individuals the               WAS PROCESSED
ability to manipulate documents and information
at the case level. The Civil Justice Committee has            IN CLERKS’ OFFICES
observed that uniform, technology-enhanced                    ACROSS THE STATE.
filing has the potential to ma e representation          North Carolina Judicial Branch Annual Report:
of indigent clients less burdensome for both the                          July 1, 2015 – June 30, 2016
lawyers and the litigants themselves.
                                                     window, support multiple charge codes, accept
The use of electronic filing and electronic          payment through multiple means, generate a
information management systems will require          statement, produce management reports, export
a thorough review and revision of filing and         and transmit transaction activity, and provide
recordkeeping rules prior to implementation.         the ability to maintain case-related transaction
This will ensure that all parties including          activity. Staff using the current Financial
self-represented litigants have e ual access           anagement ystem (         ) report significant
and understanding. It will also ensure that the      redundancies and inefficiencies with the system.
rules address changes necessitated by electronic      pecifically, the system does not integrate well
filing. Training both internal and external          with the case management systems, requiring
Judicial Branch stakeholders will be essential       paper printouts of financial obligations and
and may be accomplished by a combination of          access to multiple systems (FMS and a case
in-person training and the creation of web-based     management system) to cross-reference the
instructional videos. Developing integrated          obligations. The Committee sees substantial
e-filing, E    , and C    is critical in order to    benefits from rolling the financial management
achieve the successful modernization of the court    system into a single integrated case management
system.                                              system, and the recommendations from the
                                                     strategic plan have the opportunity to yield
                                                     significant benefits for cler s and their staffs, as
                                                     well as for the public.

  • FINANCIAL
    MANAGEMENT
    SYSTEM (FMS)
                                                       • ELECTRONIC
The Judicial Branch should determine the
                                                         PUBLIC ACCESS
re uirements for a financial management system,
which will integrate with ICMS, make real-           Electronic public access will provide the
time adjustments at the cler s office cashier s      public with access to available Judicial Branch



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information (including information from ICMS)          for online payment of court costs and fees are
through self-service kiosks and personal devices;      just three examples of the level of online access
web-based capabilities will provide the ability to     the 21st century public has come to expect from
conduct online searches of publicly available court    its institutions. As the NCCALJ’s Public Trust and
records and documents, submit online payments,         Confidence Committee notes, increased access to
complete online forms, etc.                            the courts and to information about the courts has
                                                       the potential to foster greater confidence in our
Many clerks interviewed during BerryDunn’s             courts.
focus groups reported that a majority of their
time is spent servicing public requests for            The Judicial Branch is currently involved in a
information information that is a public record        complete overhaul of its website. In the near
but is not readily available to the public without     future, public access to basic information such as
calling or visiting a cler s office. This service is   forms, directories, calendars, etc. should be more
important but is also interruption-driven, causing     easily available. Availability across platforms
clerks to spend time “reorienting” themselves          focusing on mobile devices is being prioritized.
to the task that they were working on before
the inquiry. A statewide effort to make basic,
relevant courthouse information available online
will improve cler s office productivity, customer
service, and transparency. In addition to making         • JUDICIAL
information available online, the cler s office
should be able to provide the public with the
                                                           WORKBENCH
option to conduct many other routine transactions      Judicial Workbench, or a workbench for any
online.                                                courthouse actor, will serve as a dashboard
                                                       portal application that provides the electronic
From a customer service standpoint, maintaining        tools to meet the specific case processing, judicial
information available online saves individuals         decision-making, and management needs of
from having to take time off of work to drive to       trial court judges on the bench and in chambers.
the courthouse. Making forms available online,         Dashboards should enable staff to interact
creating portals for the submission of documents       digitally regarding all types of matters handled
to the courthouse electronically, and providing        within the courthouse.




CONCLUSION
The Technology Committee has gathered a                of process, leading to greater public access to and
tremendous amount of information during the            increased confidence in the courts.
last fifteen months. The Committee envisions a
court system that will fulfill the vision of a 21st    As we look to that future, let us continue to bear
century courthouse where technology is used            in mind three principles to guide us in the tasks
to enhance efficiency, effectiveness, and timeliness   ahead. First, we must continue to be responsible



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PART TWO | Technology Committee




stewards of the resources that we have been                                  their legal needs outside of the court system, often
given, and that we will eventually pass on to the                            to their own detriment.
next generation. Second, we must work to restore
public trust and confidence in the judicial process                          By modernizing the resources that we have, we
and in our courts. Finally, it is of vital importance                        can continue to be responsible stewards of those
that we always look to improve access to justice                             resources. By working toward greater access to
for all citizens.                                                            justice for all, we can all do our part to secure
                                                                             equal justice under law. And not incidentally,
We live in a time of great transition in our society,                        we can increase public trust and confidence
and our courts play an important role in this                                in our courts through these efforts. As our
changing environment. The digital age has brought                            courts do justice in every case as they treat
new ways to connect to each other and to the                                 every citizen and every party with fairness and
world around us. But it also has led to new dispute                          respect prospective litigants will entrust more
resolution options for the people that we serve.                             of their disputes to us, further promoting justice
Our goal should be to modernize our courts to                                and fairness.
keep up with the digital revolution, and to make it
as easy as possible for our stakeholders to interact                         As Chief Justice Mark Martin recently remarked,
with the court system and conduct business with                              “Advances in technology, together with the desire
our courts. If we intend to keep pace with the                               to reduce costs and improve the public’s access
competition, we need to view litigants the way that                          to court services, give us the chance to reimagine
we would view customers in a mar etplace not                                 how courts and citizens interact with each other.”
in a way that shortchanges justice, but in a way                             With the adoption of this technology plan, North
that recognizes that people have choices. And if                             Carolina will join the ranks of those other states
our courts are too costly, too complicated, or too                           on the vanguard of technology. North Carolina’s
slow, the citizens that we serve will try to address                         citizens should expect no less.




     1.   National Center for State Courts, The State of State Courts: A 2014 NCSC Public Opinion Survey. Available at http: bit.
          ly 2i y JN. Accessed January 12, 2 1 .
     2.   Per S.L. 2015-241, the Technology Committee served a dual role both as a Committee of the Commission on the
          Administration of Law and Justice, and as the Advisory Committee for the eCourts Strategic Plan effort.
     3.   The Edgecombe County Courthouse was forced to close after flood waters from urricane atthew engulfed the
          courthouse basement in October 2016. This is a risk that the court system will continue to face as it maintains paper
          records. See Lindell John ay, Edgecombe County Courthouse Closed ue to looding, Rocky Mount Telegram, October 13,
          2 1 . Available at http: bit.ly 2i 2p . Accessed November 22, 2 1 .
     4.   Per the NCAOC, more than 1.25 million electronic citations were issued in Fiscal Year 2016. These citations were issued
          for both criminal and non-criminal violations, such as motor vehicle and seat belt, traffic, hunting and fishing, underage
          drinking, and speeding violations. See http: bit.ly 2ihl h .
     5.     y contrast, electronic filing is now mandatory in all federal courts.



     This report contains recommendations for the future direction of the North Carolina court system as developed independently by
     citizen volunteers. No part of this report constitutes the official policy of the Supreme Court of North Carolina, of the North Carolina
     Judicial Branch, or of any other constituent official or entity of North Carolina state government.




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                                       North Carolina Administration
                                       Commission the
                                                    on of
                                                          Law & Justice




                       APPENDIX
                              E
            eCOURTS STRATEGIC TECHNOLOGY PLAN
                                                      September 29, 2016



                                                          BerryDunn Report




                                                            NCCALJ Final Report – 320


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            State of North Carolina
       Administrative Office of the Courts




 e-Courts Strategic Technology Plan

                            September 29, 2016


                               Prepared for:
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Executive Summary
The North Carolina Judicial Branch has been a unified court system for over 50 years and is among 26
legally defined unified court systems in the United States. The North Carolina Administrative Office of
the Courts (NCAOC) was established to provide administrative services in this unified system, including
court programs and management services; information technology (IT) support; human resources;
financial, legal, and legislative services; research and planning services; court services; and purchasing
services. Elements of the Judicial Department Act of 1965, which established the unified court system,
include:
   •   Consolidation of a multiplicity of lower courts into a two-tier trial court system
   •   Centralization of judicial administration for the State’s courts
   •   Centralized rule-making authority
   •   State funding of the court system
   •   State-level budgeting of State funds for court expenses

Overview of the Current Environment
The IT environment in the Judicial Branch in North Carolina has evolved over the course of more than
30 years. Throughout this time, steady progress has been made in providing judicial and law
enforcement professionals with a comprehensive suite of applications and tools to use in the
performance of their duties. Most of these systems were developed by NCAOC staff using technologies
considered to be “modern” at the time they were developed. The design of these systems was
influenced by many factors, including, but not limited to:
   •   Funding pressures
   •   Court-specific practices and policies
   •   Policy and statute changes
   •   Requirements of specific user populations, such as judges, district attorneys (DAs), clerks, public
       defenders, magistrates, and law enforcement
   •   The dynamic information needs of Judicial Branch and legislative leadership
   •   The dynamic and evolving nature of available technology

North Carolina can boast an inventory of modern, sector-leading applications. However, the technology
used to develop them applications spans more than three decades. In recent years, the NCAOC
Technology Services Division (TSD) has interconnected many of the applications with sophisticated and
complex application program interfaces (APIs), web services, and message queues. These methods
have greatly increased the usability of the application portfolio, but have also created an intricate
environment to support and maintain.

Many of these technologies have aged to the point that the skills required to maintain them have
become scarce. During the last decade, there has been a substantial movement toward integration of
the various system components across judicial and law enforcement functions, as well as toward the
need to provide seamless access to the information that is housed within those systems.



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Drivers for the Development of an e-Courts Strategic Technology Plan
Pursuant to S.L. 2015-241, the NCAOC set out to develop an e-Courts Strategic Technology Plan.
Section 18A.21.(a) of S.L. 2015-241 is defined below.
       SECTION 18A.21.(a) The Administrative Office of the Courts shall establish a strategic plan for
       the design and implementation of its e-Courts information technology initiative by February 1,
       2016. The e-Courts initiative, when fully implemented, will provide for the automation of all court
       processes, including the electronic filing, retrieval, and processing of documents. The strategic
       plan shall:
           (1) Clearly articulate the requirements for the e-Courts system, including well-defined
               milestones, costs parameters, and performance measures
           (2) Prioritize the funding needs for implementation of the various elements of the system,
               after consultation with the e-Courts advisory committee established by subsection (c) of
               this section
           (3) Identify any potential issues that may arise in the development of the system and plans
               for mitigating those issues
           (4) Address the potential for incorporating any currently existing resources into the e-Courts
               system

Additionally, the North Carolina Commission on the Administration of Law & Justice (NCCALJ) was
already established as an independent, multidisciplinary commission to undertake a comprehensive
evaluation of the North Carolina judicial system and make recommendations for strengthening its
courts within the existing administrative framework. The NCCALJ includes five committees designed to
focus on five areas of inquiry:
   •   Civil Justice
   •   Criminal Investigation and Adjudication
   •   Legal Professionalism
   •   Public Trust and Confidence
   •   Technology

The NCCALJ Technology Committee governed the development and approval of the e-Courts
Strategic Technology Plan and served as the e-Courts Advisory Committee. The other four committees
provided interim progress reports to the Technology Committee. Many of these reports included
technology requirements supporting the committees’ charters. These technology requirements were
considered during the development of the e-Courts Strategic Technology Plan.

The North Carolina Judicial Branch has expressed a growing need for “anywhere, anytime” access to
information. Whether within the courtroom, chambers, office, police car, or home, judicial and law
enforcement officials and the public have expressed the desire to interact with court processes and
data seamlessly, interactively, and remotely. This desire is a fairly recent divergence from traditional
interactions with courts in the stakeholders’ geography and is aligned with modern expectations to
interact with government and private services providers electronically. Historically, local judicial officials
interacted with citizens on a face-to-face basis, with information and data (mostly paper-based) being
the sole province of those officials; legacy applications reflect these traditional practices.



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Advances in technology, together with the desire to reduce costs and improve access to court services
by the public, provide the opportunity to reimagine how court officials and citizens interact with each
other. The Judicial Branch desires to drastically reduce manual processes and reliance on paper
documents. The federal government and many state court systems have successfully undergone
similar technology transformations. These advancements in technology have led to increased
efficiencies and collaboration among court officials and the legal profession.

In an effort to support this vision, and in order to support a more cohesive, unified court system, the
NCAOC retained BerryDunn in January 2016 to assist in an assessment of the current IT environment
and to produce a multiyear strategic plan for e-Courts in North Carolina (e-Courts Strategic
Technology Planning Project). The resulting plan is the cornerstone for the evolution of technology in
support of North Carolina’s e-Courts vision.

Overview of Strategic Initiatives Included in this Report
Table ii summarizes the initiatives developed collaboratively by the Judicial Branch and BerryDunn; a
detailed description of each initiative is provided in Section 3.0 and Appendix A.
                            Table ii: Prioritized Strategic Technology Initiatives

                 Strategic Initiative                Implementation Complexity       Anticipated Benefits


     A       Management & Governance



     B       Baseline Metrics



     C       Reporting & Analytics


             Enterprise Information
     D
             Management System (EIMS)


     E       e-Filing


             Integrated Case Management
      F
             System (ICMS)

             Financial Management System
     G
             (FMS)


     H       Electronic Public Access



      I      Judicial Workbench



                                                      Page 3



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                                                                       Budget Estimates and Timeline
                                                                       Table iii summarizes the budget estimates for the recommended initiatives presented in this e-Courts Strategic Technology Plan.
                                                                                                                 Table iii: Initiative Budget and Timeline Matrix




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Success Factors
The e-Courts Strategic Technology Plan is designed to significantly impact the operations of the
Judicial Branch and its services. One of the critical success factors for the implementation of the Plan is
continued active executive engagement for the initiatives described in the Plan and a disciplined
approach to identifying, approving, and managing major technology initiatives. This will help to ensure
that projects outside the scope of this Plan are thoroughly evaluated before adjusting the existing
priorities of the initiatives described herein.

Another critical success factor entails committing appropriate resources toward the completion of
initiatives. Resources may include, but are not limited to, funding, contractors, and Judicial Branch
staff. In many cases, the use of external resources (e.g., contractors) is required. Factors determining
the use of external resources may include availability of TSD, NCAOC, and Judicial Branch staff;
urgency of initiative completion (relative to availability of TSD, NCAOC, and Judicial Branch staff); and
the need for long-term knowledge of a specific technology.

New e-Courts technologies create significant opportunities to change how the Judicial Branch
manages daily operations. The Judicial Branch must plan for significant business process changes
that streamline operations and focus on using technology to improve customer service. In planning for
the implementation of recommendations from this Plan, the Judicial Branch should consider the
following:
   •   Active executive and management involvement and sponsorship will be critical to the
       successful adoption and continued support of the Plan.
   •   Implementing a successful e-Courts Strategic Technology Plan will require significant
       planning, increased capital investment, and human resources.
   •   A rigorous communication plan should be established to communicate project goals and
       objectives to stakeholders prior to, during, and after the implementation of the initiatives .
   •   Current business processes should be evaluated and redesigned where necessary to take
       advantage of new technologies.
   •   Many changes will be non-technical, cultural shifts—e.g., process changes—that should be
       facilitated by structured change management and policy and procedure adjustments.
   •   Departments must work cooperatively and collaboratively to facilitate effective change that is
       in the best interest of the Judicial Branch.
   •   Technical support staff will be critical to the success of the e-Courts Strategic Technology
       Plan’s implementation.
   •   Internal stakeholders must be ready, willing, and able to use new technology to facilitate
       effective change.




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1.0     Introduction

1.1     Project Background and Approach
The NCAOC has established an e-Courts vision that includes virtual courthouses; electronic
filing, retrieval, and processing of documents; convenient access to services and information for
the public; integration of financial and case data; judicial decision support; and caseload
administration tools. This vision is encapsulated in the expression:

                “The right information, at the right time, right where you are.”

In support of this vision, the NCAOC will create an environment in which court technology is
advanced, making it easier for the public and stakeholders to access court services, while
minimizing the need to physically travel to a courthouse.

The approved Project Charter for the e-Courts Strategic Technology Planning Project provides a
set of objectives to be achieved as a result of an e-Courts Strategic Technology Plan. These
objectives are provided in Table 1.1 and support the need to remain current in advances in
technology, to reduce costs, to improve access to the court services, and to eliminate wasteful,
manual processes.
                    Table 1.1: NCAOC Project Objectives and Anticipated Value
 No.                                       NCAOC Project Objectives
  1     Improve access to justice for North Carolinians
  2     Improve efficiencies for public safety and law enforcement partners
  3     Capture data that supports metrics the Judicial Branch may use to gauge performance
  4     Reduce reliance on paper and the other constraints that a paper-based system imposes
  5     Increase the quality of data collected and maintained, and improve its usefulness
        Promote the use of the electronic flow of funds over physical methods, both with regard to
  6
        collections and disbursements
 No.                                            Anticipated Value
  1     Improve faith and confidence by the public in judiciary operations
  2     Improve the ability to dialog effectively and confidently with the legislature and the public
        Increase buy-in and support from Judicial Branch stakeholders regarding initiatives that are
  3
        presented as enablers of process improvement
  4     Ensure security of non-public data

This e-Courts Strategic Technology Plan supports these objectives and the e-Courts vision and
promotes a more cohesive, unified court system. This Plan is the cornerstone for the evolution of
technology in support of North Carolina’s e-Courts vision.



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To develop the e-Courts Strategic Plan, BerryDunn utilized a proven bottom-up strategic
planning methodology, which began by identifying bottlenecks and barriers inhibiting the
maturity of the Judicial Branch’s court technology. This approach involved in-person interviews
with over 240 Judicial Branch staff in small, large, rural, and urban locations throughout the
state. To extend the breadth of this outreach, BerryDunn also conducted a web-based survey in
which over 2,800 Judicial Branch staff and external stakeholders participated. These outreach
activities provided BerryDunn with an understanding of how current technology enables
business functions, while also identifying areas in which the lack of technology is a barrier to the
advancement of business functions. As a result of these preliminary information gathering
activities, a technology maturity model was developed, including desired performance metrics
upon which the NCAOC expects to evaluate its progress.

The BerryDunn team then identified eight peer states that recently underwent a similar
technology transformation: Utah, Iowa, Missouri, Oregon, Nebraska, Colorado, Wisconsin, and
Georgia. Peer states were selected based on meeting most or all of the following criteria:
   •   Use of a statewide Case Management System (CMS) implementation method
   •   Progressive interfaces with other justice systems within the state
   •   Broad-based and of similar jurisdictional structure to North Carolina (technically “unified”
       or not)
   •   Similar demographics and population to North Carolina
   •   Implemented performance metrics and maintained statistics available for review
   •   Evolution to an e-Court environment is underway and far enough along that the state
       can share lessons-learned and reflect on the process as a whole

BerryDunn conducted interviews with each of the states via email and telephone, and
supplemented our research by reviewing published reports and National Center for State Courts
(NCSC) court technology findings. BerryDunn’s research included considering best practices set
forth by the NCSC, the Project Management Institute (PMI), and the Integrated Justice Information
Systems ( IJIS) Institute.

As a result of the market research and the gap analysis, the BerryDunn team developed a
preliminary list of e-Courts Strategic Technology Initiatives. BerryDunn then collaborated with a
subcommittee of the NCCALJ Technology Committee and the Judicial Branch to refine and
prioritize the technology initiatives during an on-site work session. Once a series of technology
initiatives were identified and prioritized, BerryDunn developed a budget for each, and overlaid the
execution of the initiative onto a timeline matrix depicting each initiative’s financial implications
over a multi-year planning horizon.

Project closure activities included the transfer of knowledge and artifacts gathered during the
execution of the e-Courts Strategic Technology Planning project to NCAOC personnel. This
information is critical for the implementation and ongoing evolution of the resulting e-Courts
Strategic Technology Plan, supported by the proposed Management and Governance approach.




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This e-Courts Strategic Technology Plan includes the prioritized list of initiatives, along with the
budget and timeline implications. It serves as a roadmap for the Judicial Branch’s overall
technology objectives, and provides a repeatable methodology in order to verify progress,
address new issues, and make updates as necessary.

Figure 1.1 on the following page shows the key tasks and timeline in completing this e-Courts
Strategic Technology Planning project.




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                                                                                                       Figure 1.1: NCAOC e-Courts Strategic Technology Planning Timeline




                                                                       Detailed information regarding activities resulting in the e-Courts Strategic Technology Plan can be found in the Supplemental
                                                                       Materials.




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                                                                                                                                        Page 9
1.2      Format of the Report
This report is comprised of two components. The e-Courts Strategic Technology Plan
contains the following sections:
      Executive Summary. This section provides a summary of the projects and initiatives
      described in further detail later in the report.
      Section 1 – Introduction. This section describes the background of the project leading up
      to the e-Courts Strategic Technology Plan, the format of the Plan, and the work performed in
      the development of the Plan.
      Section 2 – Gap Analysis Results. This section describes the gaps between the “as-is”
      and desired “to-be” e-Courts environment.
      Section 3 – Strategic Technology Initiatives. This section provides a high-level
      description of each initiative.
      Section 4 – Implementing the e-Courts Strategic Technology Plan. This section
      describes the budget and timeline for the e-Courts Strategic Technology Plan Initiatives,
      funding considerations, and the approach to ongoing maintenance and governance of the
      Plan.

      Appendix A – Detailed Strategic Technology Initiatives. This appendix provides a
      detailed description of the Strategic Technology Initiatives presented in Section 3, including
      tasks required to implement the recommendations, rationale for its strategic priority
      rankings, impacts on stakekholders, anticipated benefits, best practice considerations, and
      assumptions.

      Appendix B – Detailed Initiative Budget and Timeline Matrix. This appendix provides
      budget details for each initiative, including capital expenditures and operational costs.

      Appendix C – Glossary of Terms and Acronyms. This appendix contains a glossry of the
      terms and acronyms that were included in this document.

The Supplemental Materials is a set of appendices that includes supplemental materials used
to support the generation of the e-Courts Strategic Technology Plan.




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2.0        Gap Analysis
This section describes a Maturity Model for e-Courts technology and how this aligns with the
Judicial Branch’s current (“as-is”) and desired (“to-be”) environment, as well as how the Judicial
Branch’s current environment relates to the peer states that were interviewed. In addition, this
section illustrates the gaps between the current state of the Judicial Branch’s technology
environment and the Judicial Branch’s future vision and objectives. Gaps are organized into
three categories:

      1. Management and Governance
      2. Business Environment
      3. Technology

The purpose of identifying the gaps in these three areas is to understand the Judicial Branch’s
current state, the issues facing the court system, and how they impact the overall functionality of
the Judicial Branch.

A gap is identified by comparing the resources and assets in the current environment with the
desired “to-be” environment and industry best practices. A gap results when the existing
technology provides no or partial functionality in the current environment to meet current and
anticipated future needs.

2.1       Peer State Analysis and e-Courts Maturity Model
As a result of the peer state reviews, the BerryDunn team determined North Carolina’s current
state as compared with the desired future e-Courts state, and peer states. In general, the
largest gaps between North Carolina and peer states relative to the three domain areas and e-
Courts elements are found in the following areas:
      •    Operational and mature initiative governance models
      •    Centralized ICMS

In these areas, the peer states seem to be further advanced than North Carolina. However, there
were two areas in which the gap between the NCAOC and the peer states is not as wide. These
include:
      •    Use of a modern, fully functional FMS
      •    Reporting and analytics

The NCAOC and the peer states were significantly similar (i.e., little or no gap identified) in the
following areas:
      •    Document management (and the use of the fully integrated document management
           system as a component of the e-Courts strategy)
      •    Availability of a “Judicial Workbench”
      •    Electronic public access to court services
      •    Judicial Branch–wide use of e-filing

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Based on analysis of the peer states, who are generally considered to be ahead of the curve
regarding technology transformation, the NCAOC seems to be remaining current regarding
functionality, but falling behind when it comes to the technology used to support the
functionality. Of particular concern is the technology used to support case management
functionality, where the NCAOC seems to be further behind the peer states.

Table 2.1 (on the following page) displays the current state of the NCAOC technology-related e-
Courts elements, depicted in peach; desired future e-Courts state, depicted in green; and
comparison peer states, indicated by ovals. White indicates a transitional maturity level between
North Carolina’s current state and desired furture state.




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                                                                       Table 2.1: NCAOC e-Courts Current State, Future State, and Peer State Comparison




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                                                                                                          Page 13
2.2       Gap Analysis Categories
Category 1: Management and Governance
The gaps identified relative to the Management and                  Peer states cited the importance of
                                                                    management and governance as the
Governance domain specifically related to the value of
                                                                    primary critical success factor for prioritizing
having a fully operational and mature governance model in
                                                                    initiatives that best support the overall
place to support the identification, consideration,                 mission of the courts, including court
prioritization, and approval of initiatives, followed by a          improvements expected from the
disciplined portfolio management methodology to track the           implementation of technology.
portfolio of enterprise initiatives.

BerryDunn identified the following gaps in the Management and Governance domain area:
      •    The North Carolina Judicial Branch has defined, but not yet made operational, a
           governance framework – Industry organizations (e.g., PMI and NCSC) and peer states
           indicate that a formal management and governance model is the most critical success factor
           and will allow for the allocation of funds and personnel to prioritized initiatives. The Judicial
           Branch does not currently have such a framework in operation.
      •    Business rules are not defined nor applied consistently from county to county – Though
           county courts are part of the unified court system, they operate autonomously and define
           elements and conditions of their own business and court processes and procedures. These
           process variations were acknowledged by court clerks and others interviewed, as well as by
           private practice attorneys and district attorneys (DAs), during focus group sessions.
           Additionally, prompted by the lack of modern technology, many county courts have developed
           local point solutions, which has spawned a set of unsupported “micro applications” to bridge
           the gaps between the current technology and the requirements of the business. These point
           solutions result in decreased process and technology uniformity across the courts within North
           Carolina.
      •    The NCAOC does not own or manage the court facilities (this is a county-level
           responsibility) – Although the NCAOC provides the majority of technology to the courts
           throughout the state, the counties are currently accountable for implementing technologies that
           are related to specific court facilities. The projects undertaken by the individual courts to
           implement local technology are driven by financial resources and priorities within the counties
           themselves and, as a result, are not uniform from county to county. These technologies
           include, but are not limited to, courtroom exhibit management technology, audio/video
           equipment, and electronic calendar displays in public areas of the courthouse. Because these
           projects are not centralized NCAOC initiatives, economies of scale (e.g., leveraging
           centralized volume purchasing power, centralized management of common technologies) may
           not be realized.
      •    The NCAOC is not establishing the standards of all judicial education programs, nor
           administering the education and training for all judges and staff – This may result in
           business processes that are inconsistent from court to court. Industry organizations and peer


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       states indicate that increased common business processes across the state result in
       standardization in how participants interact with the courts and normalization of data that is
       captured and utilized during the disposition of cases. This increases the ability to report on
       metrics for the purposes of defining court performance.
   •   The NCAOC is currently functioning consistent with best practices in project
       management and program management but not portfolio management, as described by
       PMI standards – The NCAOC has a strong Project Management Office (PMO), leveraging
       industry best practices in the areas of project and program management. The primary gap
       between the current practices and best practices is the implementation of a formal and
       rigorous portfolio management process to support the approved enterprise-level initiatives.

Review of the peer states and current best practices promulgated by the NCSC, PMI, and IJIS
suggests that solutions exist to close all of these gaps, which would enable the NCAOC to effectively
implement its e-Courts vision. It will require the NCAOC to operationalize its endorsed governance
initiative across all phases of the strategic planning process. This includes implementing a
streamlined approval process that can efficiently advance the initial tasks included in the nine
initiatives described in this report. The approval and governance process must be implemented as
soon as possible so that initiative working groups can be formed, resources allocated and committed,
and sponsorship and support from all participating stakeholders strengthened.

While high-level tasks key to implementing the specified service or technology were defined for each
initiative, the Management and Governance initiative must be consistently applied across all aspects
of the e-Courts initiatives to:
       •   Maintain a coordinated and timely schedule and process
       •   Limit scope creep
       •   Enable periodic performance review
       •   Assess progress against defined objectives and deliverables
       •   Ensure resource commitment to completing specific tasks
       •   Ensure coordination across initiatives
       •   Identify integration and collaboration processes and needs
       •   Enable fiscal and operational continuity

The most frequently cited lessons learned from courts endeavoring a statewide e-Courts vision are the
need for strong endorsement of overall portfolio management, governance, and stakeholder
commitment to assigned tasks, deliverables, and scheduled activities. Due to the NCAOC’s multiple
jurisdictional and administrative management priorities, consistent and regular restatement of
objectives and renewal of buy-in by key stakeholders is essential to maintaining forward progress. This
includes ensuring that benefits continue to support to the longer-term vision and continue to engage
individual stakeholders in achieving success over the length of each initiative. Often the terms “Quick
Wins” or “Phased Deliverables” are used to ensure that stakeholders see value and some immediate
return on the investment of their time in the short term.



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Category 2: Business Environment
The gaps identified relative to Judicial Branch’s Business Environment are largely centered around
the use of performance metrics to gauge court performance. These may be related to measuring a
court’s performance improvement as a result of technology change, business process change, or
both. The NCSC defines a set of performance metrics, known as “CourTools,” which includes 10
performance measures for trial courts and six performance measures for appellate courts. It also
provides guidance for “specialty courts and cases,” such as drug courts, mental health courts, and
elder abuse cases. Some states have adopted these CourTools measures in their totality; however,
most peer states indicated that they selected a subset of these measures, while also using other
measures that were not specifically identified within the CourTools model. Most peer states indicated
that the use of performance measures did not drive decisions regarding the prioritization and funding
of technology initiatives. Instead, they indicated that, once new technology was implemented, the
availability of metrics to measure court performance was an important and useful byproduct of the
implementation of the new technology and its impact on court performance.

The BerryDunn team found no substantive gap between how the Judicial Branch is currently using
available performance metrics and how other states are using them. The Judicial Branch is currently
using a subset of available CourTools metrics to determine court performance in these areas. They
are also capturing metrics that are not specifically aligned with the CourTools model, but are generally
available by mining data in the current data repositories that are used by current systems and
applications. However, for states that recently implemented modern technology solutions, the
availability of performance metrics to determine court improvements increased, enabling them to
better use these metrics to determine areas of improvement.

The following gaps were identified in the Business Environment domain area:
   •   While the NCAOC is seeking to implement standard metrics, including CourTools
       metrics, the current statistical reporting is inadequate to effectively measure business
       processes and performance – Metrics provided to and reviewed by BerryDunn did not
       present elapsed time for tasks within a larger workflow. Having these metrics would allow the
       NCAOC to determine where bottlenecks occur and where the judicious application of
       technology or process change might prove beneficial.

   •   Limited use of performance metrics makes it difficult to determine if there is a
       quantifiable improvement resulting from any change in technology – Industry best
       practices support defining performance metrics, conducting an initial baseline analysis of court
       performance against these metrics, and performing ongoing analysis of the advancement of
       court performance. Peer states report that, although the approval of technology initiatives is
       largely not driven by the need for metrics, once the approved technology has been
       operationalized, the availability of data to support the defined metrics is important for
       measuring court improvements.




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Category 3: Technology
The Technology Gap Analysis is broken into the following e-Courts areas:
   •   e-Filing
   •   Document Management
   •   Financial Management
   •   Case Management
   •   Reporting and Analytics
   •   Electronic Public Access
   •   Judicial Workbench

e-Filing
The NCAOC has undertaken a pilot of e-filing capabilities, currently supporting a small percentage of
the total number of cases and case types that may be filed electronically. Other forms of “electronic
filing” are currently in place (e.g., eCitations), but are not fully automated and require clerks to print
many of the citations that are filed with the Judicial Branch electronically. To support a paperless
environment and the Judicial Branch’s e-Courts vision, e-filing must support all relevant case types.
Peer states report that full adoption of e-filing may require policy or statute changes to ensure that all
filings are conducted electronically, with waivers in place to support those that may not have access
to computers. Some peer states have such statutes in place and are achieving nearly 100%
compliance. Other peer states are still early in the implementation of e-filing technology, waiting until
core supporting technology is in place before fully deploying e-filing. Supporting technology includes,
but is not limited to, a fully integrated CMS and fully functioning EIMS. The current process is time-
consuming and involves an excessive use of paper for certain case types that are not set up for e-
filing. Court clerks must maintain both manual and e-filed documents, resulting in duplicative business
processes for case management.

Document Management
The NCAOC supports the storage and retrieval of some forms of electronic document currently;
however, the initiative to implement a fully functioning EIMS is in its infancy. An EIMS solution has
been identified and acquired, and there are efforts underway to determine its configuration and
utilization. The gap between the NCAOC and some peer states in this area is negligible; however, the
implementation of an EIMS is a predecessor to fully enabling e-filing capabilities. In the current
process, searching and archiving is limited because storage flows through a shared network linked to
the CMS. Additionally, traveling judges and justices continue to be burdened and slowed down
because they are tethered to paper files.

Financial Management
The NCAOC currently supports an FMS that has evolved over several years. However, the
technology is nearing obsolescence, making it difficult to find personnel to support it. This system is
not fully integrated with the case management functionality, requiring duplicate data entry and
increasing the potential for errors. Peer states report that they are utilizing more modern technologies
to support the financial needs of the courts and administration. As such, they are slightly more


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advanced than the Judicial Branch. As a whole, though, they have still not advanced to the highest
level of maturity for financial management. For example, limiting how many cases a clerk can have
open at a time delays the amount of work they can accomplish. Additionally, the current process for
credit card payments is cumbersome and error-prone, and sometimes charges are mistakenly
processed twice, which results in reduced confidence in the system.

Case Management
Case management is the area in which the largest gaps exist between the North Carolina Judicial
Branch and peer states. NCSC and the peer states indicated that a centralized case management
system is a critical success factor to support business process consistency and improvement for all
courts and case types within a unified court system. An ICMS is distinguished from a CMS in that it
supports multiple case types through multiple levels of a court system; whereas a traditional CMS has
historically targeted a single case type or court level. Additionally, the user community for an ICMS
extends beyond clerks and administrative staff to include judges and justices. Many of the peer states
report that they are implementing an ICMS model—some of which began with an ICMS vision, others
of which started with a traditional CMS model and have been expanding the capabilities to support
multiple case types, courts, and users.

The NCAOC supports a system of eight case management modules that provide limited CMS
functionality. These modules have evolved over the past 30 years (some are more modern) and were
designed to support specific case types. As currently implemented, the modules comprising case
management functionality are used inconsistently, which results in redundancy in workflow, the
potential for loss of information and/or files, and increased time spent to correct errors.

Reporting and Analytics
Currently, most reports must be requested from the NCAOC (specifically the TSD) for development.
This process can be time-consuming, limiting the availability of reports in a timely manner. Most
reports are executed in a batch (e.g., overnight) mode, and ad hoc queries and reporting are
generally not available for users in the courts to execute. Peer states with modern CMS technology in
place claim that reporting has become much more real time and accessible to those that require it.
Modern ICMS technology enables the definition and utilization of common business practices across
the organization, further supporting the use of common data element definitions. Because the data is
stored in a common manner, reporting on performance metrics is much more accurate and useable to
determine where the courts may require improvement.

Electronic Public Access
Most peer states and the Judicial Branch support some level of electronic access to the courts. This is
typically enabled through a public website or portal, and can also be supported through the use of
kiosks that are strategically placed throughout the state. There is no significant difference between the
Judicial Branch’s maturity and capabilities in this area and those of the peer states. However, many
industry publications describe mature electronic access to the courts models, in which case
participants, the public, and other stakeholders have access to appropriate information at any time,
using technology that is not location dependent. Increasing the Judicial Branch’s maturity in this area



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will require an ICMS and a fully functional EIMS. It may also require statute or policy changes to
enable access to files that currently must be accessed solely by visiting a courthouse.

Judicial Workbench
The NCAOC supports elements of a Judicial Workbench, including access to jury instructions
technology and links to electronic versions of statutes, judicial briefs, and other related documents for
use on the bench and during case preparation. The industry generally refers to the Judicial
Workbench as an interactive view into case information that may be stored in various locations, such
as an ICMS and EIMS. One working definition of the Judicial Workbench is provided in the context of
“Judicial Tools” through the JTC, established by the Conference of State Court Administrators
(COSCA), the National Association for Court Management (NACM), and the NCSC. Of the judges
and justices interviewed, many of them were unaware of the value of a Judicial Workbench, including
the ability to interact with cases in real time and actively manage their dockets.




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3.0     e-Courts Strategic Technology Initiatives
3.1     Strategic Initiatives Development
A set of nine initiatives were identified as a result of the gap analysis phase. These initiatives are
intended to advance the NCAOC technology environment towards a more evolved e-Courts maturity.
Many of these initiatives are currently in some stage of implementation already. This section includes
a proposed order of implementation based on best practices, initiative dependencies, and feedback
from a subcommittee of the NCCALJ Technology Committee during a workshop conducted in July
2016. A summary of these initiatives is provided in the table below.
                                         Table 3.1: Summary of Initiatives
      Initiative                                     Summary of Initiatives
          A        Management & Governance
          B        Baseline Metrics
          C        Reporting & Analytics
          D        Enterprise Information Management System (EIMS)
          E        e-Filing
          F        Integrated Case Management System (ICMS)
          G        Financial Management System (FMS)
          H        Electronic Public Access
          I        Judicial Workbench

The initiatives, rated in terms of the anticipated benefits and implementation complexity for each, and
graphic of each is depicted as shown in Table 3.2.
                                       Table 3.2: Implementation Complexity
                                                Complexity Rating
                      Highly Complex (“High”) characteristics include:
                              •   Detailed planning and/or requirements determination
                              •   Development and execution of a robust and detailed schedule
                              •   High utilization of Judicial Branch staff and management resources
                              •   Significant business process reengineering
                              •   Disciplined change management and acceptance by operational staff
                              •   Strong and consistent governance to manage change and to reduce the risk
                                  of stakeholder rejection and scope creep


                      Moderate Complexity (“Moderate”) characteristics fall between the High and Low
                      complexity rankings.




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                                              Complexity Rating
                      Minimal Complexity (“Low”) characteristics include:
                          •   Predefined and accepted requirements already in place
                          •   Straightforward with regard to scheduling
                          •   Limited impact on Judicial Branch resources
                          •   Limited change management to the current processes
                          •   Low risk of operational staff and stakeholder rejection

Additionally, the initiatives were assigned an indicator of the level of anticipated benefit, as depicted in
Table 3.3.
                                    Table 3.3: Anticipated Benefits Rating
                                         Anticipated Benefits Rating
                                    Highly Beneficial (“High”) characteristics:
                                        •    Impact a large number of stakeholders
                                        •    Provide significant value

                                    Moderately Beneficial (“Moderate”) characteristics fall between the
                                    High and Low benefit rankings.

                                    Narrow Value (“Low”) characteristics:
                                        •    Impactsa small number of stakeholders
                                        •    Provide limited value


3.2    Prioritized List of Strategic Technology Initiatives
This section contains a short description of the nine e-Courts Strategic Technology Initiatives in
priority sequence, along with a graphic depicting the Anticipated Benefits Rating and the Complexity
Rating. While listed in ascending order, some initiatives will overlap and run concurrently. For a
complete description of the nine e-Courts Strategic Technology Initiatives, see Appendix A.

                   Initiative A – Fully Implement Management and Governance Process
   Initiative Description:
   Two separate technology committees have endorsed an IT governance model and charter. The charter
   sets forth a method by which decisions are made and by whom; however, it has not yet been fully
   operationalized and expanded. The governance model is the foundation of the e-Courts vision.
   BerryDunn recommends that the NCAOC operationalize the Governance Charter. The charter
   establishes a set of policies and procedures that dictate the process by which chief strategic decisions
   are made, and is less focused on tactical or smaller projects. The overarching governance model will
   serve as the method to achieve all of the remaining initiatives laid out in this Plan. The NCAOC should
   consider implementing a best-practice portfolio management framework (such as is recommended in
   PMI’s Project Management Book of Knowledge [PMBOK]) and apply it to all NCAOC initiatives.
   Additionally, the NCAOC should consider updating the current initiative or project submission and


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                Initiative A – Fully Implement Management and Governance Process
prioritization process to address all project sizes (e.g., large multiyear projects, small ad hoc projects,
projects that may arise within the fiscal year).
                                            Ranking and Impact
      Priority Ranking               Implementation Complexity                   Anticipated Benefits




                    Initiative B – Identify Metrics and Conduct a Baseline Analysis
Initiative Description:
Disciplined tracking and reporting of performance metrics will help the Judicial Branch determine where
personnel and funding are best applied in order to achieve its vision and improve performance against
organizational goals.
The NCAOC has metrics it currently monitors and analyzes. Three of the measures are drawn from
CourTools. We suggest the NCAOC determine the metrics on which it wants to base its effectiveness
and efficiency. We recommend the NCAOC define the data elements it wishes to use and take steps to
ensure they are standardized across the state. The NCAOC should also define the “to-be” business
process descriptions when developing the metrics.
In addition, the stakeholders or audience for whom the measures are of interest should be considered,
along with how that information or the results of that analysis are presented to them. The baseline
analysis should occur as soon as possible, but it may need to wait until after Initiative C – Reporting and
Analytics has commenced and the tools needed to analyze the data are in place.
                                            Ranking and Impact
        Priority Ranking                Implementation Complexity                 Anticipated Benefits




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                                   Initiative C – Reporting & Analytics
Initiative Description:
Judicial Branch staff across the state with direct daily operational management duties do not have
comprehensive ad hoc reporting and querying capabilities and are unable to drill down into core court
business processes for data analysis and reporting. By expanding the reporting and analytics
capabilities, parties performing queries and analyzing data will be able to identify areas within business
processes that need change. They will also be able to review performance and the status of case
workflow, and be better able to manage case activity.
In order to expand upon current reporting and analytics capabilities, the e-Courts Strategic Technology
Plan needs to include a robust, feature-rich reporting and management analysis toolkit. The data source
upon which the reporting and management analytics occurs could take the form of a “data lake,” data
warehouse, or some other repository that consolidates disparate data sources. Sources of data could
include the ICMS, FMS, EIMS, and others. This reporting and analytics capability could be acquired and
implemented after a Request for Proposals (RFP) and procurement process, and the system selected will
provide pre-formatted reports that allow for drill-down in data from query results. It will also allow for
scheduling standard, periodic, or batch report runs.
Additionally, this functionality will be configurable; allow for standard and ad hoc reporting; include user-
friendly query tools common in standard statistical or analytical software; have the ability to create and
run ad hoc reports by any set of criteria; have the ability to save, copy, and manipulate reports and report
data; and allow authorized users to redact or hide private or sensitive data as necessary. The CourTools
integration standards and other performance measures to evaluate court metrics in a standardized
manner is essential.
                                           Ranking and Impact
        Priority Ranking               Implementation Complexity                Anticipated Benefits




                  Initiative D – Enterprise Information Management System (EIMS)
Initiative Description:
An EIMS is a secure electronic repository used to store, retrieve, archive, and associate a variety of
documents with cases and court proceedings. The EIMS is integrated with other e-Courts applications to
create a consolidated electronic court case record with data from the ICMS, the FMS, e-payment, and e-
filing components.
The EIMS facilitates other applications’ ability to use data accumulated in association with a case. Using
the EIMS’ workflow features, the court may electronically route documents and include individuals’
annotations. The EIMS would support document scanning, document processing, indexing, sorting,
reporting, and tracking and search functions. Currently, these activities are performed manually on
documents received by the court.
Including an EIMS in the NCAOC e-Courts applications suite provides internal and external stakeholders
with access to documents appropriate for their role in court interactions. The EIMS enables information



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                   Initiative D – Enterprise Information Management System (EIMS)
sharing, exchange, and document access to occur electronically. An EIMS replaces paper transactions,
whether within the courtroom, chambers, the office, police car, or at home.
The NCAOC is in the early stage of implementing an EIMS to support future e-filing and related e-Courts
initiatives. This initiative, as presented here, is intended to prioritize and formalize the implementation
approach. The NCAOC should consider leveraging the current EIMS capabilities specific to creating
portals for the “Actor Views.” The use of portals that are tailored specific to the actor/user to display the
reports and dashboards generated from Initiative C – Reporting and Analytics gives the user the exact
information in a manner that it can be best utilized.
The documents within the EIMS may originate from a variety of sources, including from the ICMS or
another e-Courts application, or as e-filed by parties and external stakeholders. The EIMS may access
images from a repository of converted hardcopy back-up files, documents submitted electronically as
images (not e-filing), converted microfilm, and other media. Images/documents within the EIMS can be
made accessible online for searches, through a portal, and to the court and external case parties as
needed for case processing, without the need to produce a hardcopy when the file moves from one
workflow stage to another.
Though the EIMS would provide paperless electronic filing capabilities, court order and legislative
statutory changes may be required in instances where original record regulations and/or court policy
requires maintenance of a hardcopy record, or when certain original documents require a “wet signature”
and manual filing with the clerk’s office.
                                           Ranking and Impact
       Priority Ranking              Implementation Complexity                  Anticipated Benefits




                                           Initiative E – e-Filing
Initiative Description:
An e-filing system provides a means for anyone involved with the court system—the public, attorneys,
and court officials—to submit documents and/or information to the court electronically. This includes
forms submitted to the court from law enforcement, litigants, district attorneys, and pro se defendants,
and includes search warrant requests, citations, criminal complaints, indictments, and dismissals, as well
as civil, juvenile, and appellate complaints and responses. Some electronic filings will originate from
fillable forms available on the web. The NCAOC should take into consideration the “actors” and their
respective “views” through the e-filing system as it works though this initiative.
With e-filing, once the data is submitted via the fillable form, it may be evaluated and processed to
respond to triggered events or initiate other tasks or events within the ICMS. As a component of the
NCAOC e-Courts strategy, receipt of documents submitted through e-filing should trigger events within
defined workflows. These would include notification, financial tracking, case event status, and other
management-specific processes.
As was noted in Initiative D – EIMS, the Judicial Branch may eventually need to change rules and
statutes to require that all submissions to the court come through e-filing, enabling the appropriate


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                                            Initiative E – e-Filing
component(s) of the NCAOC e-Courts system to incorporate the data included in the e-filed document
and eliminating the need to reenter data in the ICMS, FMS, or other system modules.
Based on a set of requirements defined in 2007, the NCAOC has previously licensed an e-filing system
and rolled out functionality to a subset of counties in a pilot project. Additionally, the NCAOC has
developed electronic filing capabilities for both criminal and non-criminal violations, such as motor vehicle
and seat-belt, traffic, hunting and fishing, underage drinking, and speeding violations. The NCAOC
should define a fresh set of business requirements in regard to e-filing and consider issuing either a
Request for Information (RFI) or RFP to identify possible e-filing solutions/vendors.
                                            Ranking and Impact
        Priority Ranking                Implementation Complexity                 Anticipated Benefits




                      Initiative F – Integrated Case Management System (ICMS)
Initiative Description:
One of the most prevalent requests for a near-term initiative during the interviews was for the provision
and implementation of a comprehensive (feature-rich) ICMS. The various participants in the interviews
often referred to specific system components, such as a scheduling system, electronic notification, date
and event-driven “ticklers,” reporting, and docketing. From a strategic technology planning perspective,
all such features are considered functionality contained in a single solution—that being an ICMS.
The overall goals of the ICMS could be achieved through the implementation of a centralized, statewide,
uniform platform that includes all functionality necessary to complete all tasks for clerks, judges, court
administrators, and prosecutors necessary for case initiation, docketing, scheduling, processing, decision
making, adjudication, and disposition. This includes incorporation and maintenance of all case-related
documentation and electronic approval processes necessary to initiate and seamlessly process a case
electronically from initiation through dismissal. Whether the NCAOC chooses to implement a new ICMS –
either through acquisition of a commercial off-the-shelf (COTS) product or through in-house integration
and upgrade of the existing standalone components – the resulting system should provide specific views
and access based upon the roles and actors who will use the ICMS to complete specific actions for case-
specific, case-type functions or roles. To achieve the goals, the ICMS should:
    •   Provide electronic processing functionality for all case types to record, track, and manage events
        and actions from case initiation through case disposition, utilizing thorough, flexible workflows
        that generate automated reminders (ticklers) and electronic notification to court staff and case
        participants/parties of case events, decisions, and court calendars.
    •   Enhance the concept of a fully, or near-fully, paperless case records and document management
        system.
    •   Integrate with an e-filing solution that enables electronic access, signature, and authorization
        capabilities for court-related events, warrants, and other court criminal and civil processes,
        dispositions, and judicial actions. This includes the ability to create, docket, electronically deliver,
        electronically sign, and print relevant court notices and case-related documents and notices.


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                       Initiative F – Integrated Case Management System (ICMS)
    •    Collect the data necessary to enable ongoing management reporting, workload management,
         and performance measurement and analytics.
    •    Integrate the case and financial management features of the case and support existing interfaces
         to enable automated data exchange, financial and case disposition reporting, and search and
         query both internally and with other State and local agencies and justice partners.
    •    Provide comprehensive functionality to integrate documents, images, and exhibits maintained in
         the EIMS to the ICMS, including archiving and retrieval capabilities.
As FMS functionality is incorporated into most COTS ICMS solutions, BerryDunn recommends including
the FMS requirements in the ICMS model if it is acquired by RFP. These requirements can be used to
evaluate flexibility and scope of the COTS solutions proposed to meet both the ICMS and FMS, as well
as address the NCAOC expectations for quality and performance improvement goals included in the
performance reporting and analytics initiatives.
                                            Ranking and Impact
        Priority Ranking              Implementation Complexity                 Anticipated Benefits



                           Initiative G – Financial Management System (FMS)
Initiative Description:
During focus group sessions with court clerks, attendees routinely describe the FMS and the process of
determining and collecting fees, fines, and costs as cumbersome, with a variety of shortcomings. The
NCAOC should look at the ICMS solution that has commenced in Initiative F to make sure the
capabilities sought do not already exist and need to be leveraged out of the ICMS solution. The NCAOC
should also take into consideration the “actors” and their respective “views” through the FMS as it works
though this initiative.
Capabilities of any standalone FMS deployed, or an FMS component within the ICMS, should include the
ability to integrate with the ICMS across all courts and case types. In addition, it should have real-time
presentation of fees, fines, and costs with any offsetting prior payments. It should also have the ability to
make real-time adjustments at the cashier’s window when presented with authenticated documentation.
Additionally, the FMS should have the ability to:
    •    Support multiple charge codes with varying costs based on location
    •    Support payment through multiple means, including credit card, debit card, cash, personal check,
         and cashiers/bank check
    •    Generate a statement of charges and payments for a case or range of cases, and print or email
         the statement(s)
    •    Produce a range of management reports
    •    Export and transmit transaction activity, in detail or in aggregate, to external systems or other
         financial systems maintained at NCAOC or elsewhere
    •    Maintain case-related transaction activity within the FMS and available for presentation through
         self-service kiosks, browser-enable workstations, smartphones, or other devices to support
         inquiry and payment online
                                            Ranking and Impact


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                           Initiative G – Financial Management System (FMS)
       Priority Ranking              Implementation Complexity                  Anticipated Benefits




                                  Initiative H – Electronic Public Access
Initiative Description:
The Electronic Public Access capability provides the public with access to available Judicial Branch
information (including that from ICMS) through self-service kiosks and personal devices (e.g., smart
phones, tablets, and desktop and notebook computers). Web-based Electronic Public Access capabilities
will provide the public the ability to conduct an online search of publicly available court records and
documents, submit online payments, and complete online forms (eForms) related to case initiation,
processing, and requests for services.
Currently, the NCAOC provides access to standard forms from the Judicial Branch website and the public
may only obtain publicly available case documents in hardcopy format on-site at a court location. The e-
Courts vision includes expanding the Electronic Public Access capabilities and the need to provide
access to publicly available case documents from anywhere, at any time, as supported by State statute
and Judicial Branch policy. As part of this initiative, the Judicial Branch should review its policies around
the scope and restrictions of publically available documents. Leveraging the practices of other states, as
well as the best practices recommended by the NCSC, should help guide the NCAOC when tailoring its
policies to find a balance between the intended transparency of the Judicial Branch and the privacy rights
of citizens.
The Electronic Public Access capabilities will interface with the EIMS, which will interface with the e-filing
capabilities of the ICMS, to enable documents to be filed, retrieved, and work-flowed electronically,
without a need for printing or creation of manual files. The result of the Electronic Public Access initiative
will provide the public stakeholders with a readily accessible self-service capability and e-access to the
right information, at the right time, right where they are.
                                            Ranking and Impact
       Priority Ranking              Implementation Complexity                  Anticipated Benefits




                                     Initiative I – Judicial Workbench
Initiative Description:
The Judicial Workbench is a dashboard/portal application that provides the electronic tools to meet the
specific case processing, judicial decision making, and management needs of trial court judges on the
bench and in chambers. Utilizing a dashboard or workspace format, the Judicial Workbench provides a
single point of entry into the day-to-day operational and managerial information needed by a judge. It


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                                    Initiative I – Judicial Workbench
provides access to the data included in the e-Courts ICMS, summary case and defendant history, and
information from other justice agencies. The Judicial Workbench also brings together – under one
umbrella system – traditional office applications, legal research capabilities, web portal access to external
applications, and a powerful decision support capability to judges.
Judicial Workbench functionality will assist in meeting the overall e-Courts objective to provide internal
and external stakeholders with the right information, at the right time, right where they are. A Judicial
Workbench enables judges to access the right information needed to enable them to better manage their
workload and to carry out their daily activities more effectively than in the current environment.
                                           Ranking and Impact
         Priority Ranking                Implementation Complexity               Anticipated Benefits




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4.0       Implementing the e-Courts Strategic Technology Plan
This section provides guidance on implementing the e-Courts Strategic Technology Plan, including a
listing of the initiatives in priority sequence, the estimated cost of each initiative, the year in which the
initiative is proposed to begin, and guidance for the ongoing governance of the Plan.

4.1       Budget and Timeline
Section 3.2 of the e-Courts Strategic Technology Plan provided descriptions for each initiative and
what each entails, identified implementation complexity and timing for the initiative, and listed
anticipated benefits of the initiative.

Table 4.1 summarizes the budget estimates for the recommended initiatives that have been
presented in this plan. The timeline provides a framework for budgeting initiative costs and for
planning implementation timeframes over a six-year horizon (including the current fiscal year as “Year
0”). The initiative costs are presented as estimates and will vary based on the budget of the Judicial
Branch, competing technology initiatives, the availability of support resources, and the specific
technical approach used to undertake an initiative. Table 4.2 depicts the estimated operational costs
post implementation.

Each initiative in the table can be started and/or completed within a given fiscal year. Rather than
attempting to determine exactly when a particular initiative would be undertaken, this table is intended
to identify the fiscal year(s) in which an initiative should be initiated. A dash symbol indicates that
there are no planned activities for the initiative during the respective fiscal year. For a detailed list of
budget assumptions made for each of the nine initiatives, see Appendix A.

For each of the initiatives, the major assumptions used in preparing the budgetary estimates are
described with Appendix A. All of the estimates assume that TSD will make available resources in
addition to the Judicial Branch and consultant hours. Resources were priced based upon staff role
estimates for specific role-based positions and tasks and segmented by:
      •   TSD Staff
      •   Judicial Branch subject matter experts (SMEs)/Non-TSD staff
      •   External consultants

For each staffing classification, blended rates and industry standard costs for major staff roles were
developed. The major staff roles include, but are not limited to, Programmers, Web Developers,
Senior Business Analysts, Planners, and Judicial Branch SMEs.

The NCAOC provided staffing data and case management data that was used for planning and cost
estimations. i

Generally, implementation go-live resource cost estimates included tasks assigned to the NCAOC
SME, non-TSD staff, TSD, and either contractor staff or vendor staff as relevant. Implementation
costs also include the following assumptions:



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    •   All software will be loaded and installed by the NCAOC and TSD according to current
        procedures.
    •   Local on-site technical support for end users in the courts will be provided by the TSD as an
        overall expansion of the current support procedures.
    •   Helpdesk volume estimates for end users and local court staff were based upon NCAOC-
        provided data.

The initiatives and associated assumptions are provided in Appendix A.



i NCAOC email groups list with FTE count (J. Williams 2-23-16 email to Berry Dunn), Trial Courts Report – North Carolina

Judicial Branch 2014 – 2015 Statistical and Operations Report; General Fund Permanent Positions Reports




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                                                                       Table 4.1: Project and Initiative Budget and Timeline Matrix ($)




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                                                                                                     Page 31
      Table 4.2: Project and Initiative Budget and Timeline Matrix ($) Years 7-10
                              Initiative Budget and Timeline Matrix ($)
                             Post Implementation – Operational Costs
                  Strategic Initiative                    Years 7-10
                  Management &
            A                                              $892,596
                  Governance
            B     Baseline Metrics                          $46,144

            C     Reporting & Analytics                    $388,800

            D     EIMS                                    $5,431,824

            E     e-Filing                          $1,000,000- $1,200,000

           F(a)   ICMS (build)                      $4,800,000-$12,400,000

           F(b)   ICMS (buy)                        $6,800,000-$15,200,000

            G     FMS                             Subsumed within Initiative F

            H     Electronic Public Access                 $573,700

             I    Judicial Workbench                        $41,776

                         Total                            Years 7-10

           Total Including F(a) ICMS-Build         $13,374,840-$20,974,840

           Total Including F(b) ICMS-Buy           $15,374,840-$23,774,840




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The following figures depict the six-year trend of the combined budget amounts for the Strategic
Initiatives in each of the Plan years with either an ICMS-build or an ICMS-buy.

                           Figure 4.1: Spending Levels with an ICMS-Build




                            Figure 4.2: Spending Levels with an ICMS-Buy




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The figures below depict the six-year trend of capital expenditures and ongoing operational costs for
both the ICMS-build and ICMS-buy options.

Figure 4.3: Spending Levels of Capital Expenditures and Ongoing Operational Costs with an ICMS-Build




Figure 4.4: Spending Levels of Capital Expenditures and Ongoing Operational Costs with an ICMS-Buy




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The first year of each initiative generally includes initiative planning work, which is typically not as
funding-intensive as later years. Similar organizations undertaking strategic technology planning
initiatives typically follow an approach to have the increased budget levels mostly be realized in the
second, third, and fourth year of the plan to ensure adequate time to secure funding. The increase in
budget levels in these years of the Plan represents the investment related to initiatives for new
applications. In years six through 10, the costs shift from capital expenditures to ongoing operational
costs.

In addition to new funding that may be needed to support the identified Strategic Initiatives, additional
operational funding will need to be secured in cases where new applications or technologies are
implemented as part of the plan.

4.2       Updating the Plan
BerryDunn recommends that the Judicial Branch review and update the e-Courts Strategic
Technology Plan twice a year. It is anticipated that new initiatives will be identified throughout the year
and they may impact the priority level of the initiatives proposed in this Plan. The review process
should follow a ratified management and governance model and involve executive management from
the Judicial Branch, as well as the TSD Chief Information Officer (CIO). The review meetings should
address the following:
      •   The first update of the year should be to track the progress made against initiatives.
      •   The second update should focus on reassessing upcoming initiatives and reprioritizing the
          order of them for the upcoming fiscal year. The overall decision to reprioritize initiatives should
          be made by the Judicial Branch executive team. As part of this update, a Judicial Branch
          representative, along with the TSD CIO, should meet with department directors to obtain their
          input and communicate plans for the upcoming year.

4.3       Success Factors for the Plan
One of the critical success factors for the implementation of the e-Courts Strategic Technology Plan
will be executive support for the initiatives in the plan. The Judicial Branch has committed to
undertaking the initiatives in this Plan, and support will need to be provided to allocate the appropriate
resources, as well as ensure that initiatives outside the scope of this Plan in current and future years
are thoroughly evaluated before adjusting the existing priorities of the initiatives in the Plan.

In order to implement the initiatives in this plan, it will be critical for the Judicial Branch to implement
the recommended portfolio management practices. Implementing the initiatives in this Plan will not
only require Judicial Branch resources and appropriate staff, but also a structured methodology to
increase the likelihood of success.

It is important that, over the next five years, the roles of the Judicial Branch and TSD continue to
evolve and that they continually assess leading edge and proven technology tools to solve technology
issues within the NCAOC.




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